                           Case 3:24-mj-00652-LS                        Document 5                Filed 02/26/24   Page 1 of 2
(W.D.T.X. Ref: 245H)(Rev. 01/05) - Judgment in a Criminal Case for a Petty Offense (Short Form)




                                      UNITED STATES DISTRICT COURT                                                          FILED
                                                       WESTERN DISTRICT OF TEXAS                                           02/26/2024
                                                           EL PASO DIVISION                                         Clerk, U.S. District Court
                                                                                                                    Western District of Texas
                                                                                                                           VMedina
                                                                                                                              Deputy




UNITED STATES OF AMERICA                                                                §
                                                                                        § CASE NUMBER: EP:24-M -00652(1) - LS
vs.                                                                                     § USM Number:
                                                                                        §
(1) Wladimir Vera-Villamizar                                                            §

                 Defendant.

                                                         JUDGMENT IN A CRIMINAL CASE
                                                         (For A Petty Offense) - Short Form

                 The defendant, Wladimir Vera-Villamizar, was represented by counsel, Robert J. Perez.

          The defendant pled guilty to the complaint on February 26, 2024. Accordingly, the defendant is
adjudged guilty of the following offense(s):

Title & Section                             Nature of Offense                                                       Date of Offense

8 USC 1325(a)(1)                            IMPROPER ENTRY BY AN ALIEN                                              02/05/2024

            As pronounced on February 26, 2024, the defendant is hereby committed to the custody of the
United States Bureau of Prisons for a term of 15 days. The defendant shall remain in custody pending
service of sentence.

            The Government, through an oral motion, moves to remit the $10.00 special assessment imposed, pursuant to 18
U.S.C. § 3013, as reasonable efforts to collect this assessment are not likely to be effective. The Court accepts the motion.
Special assessment is remitted. In addition, the fine is waived because of the defendant's inability to pay.

            If is further ordered that the defendant shall notify the United States Attorney for this district within 30 days of any
change of name, residence, or mailing address until all fines, restitution, costs, and special assessments imposed by this
Judgment are fully paid.

                 Signed this the 26th day of February, 2024.




                                                                                                        ______________________________
                                                                                                        LEON SCHYDLOWER
                                                                                                        UNITED STATES MAGISTRATE JUDGE
                    Case 3:24-mj-00652-LS         Document 5       Filed 02/26/24   Page 2 of 2

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                                         United States District Court                                   FILED
                                              Western District of Texas                              02/26/2024
                                                 El Paso Division                                  Clerk, U.S. District Court
                                                                                                   Western District of Texas


                                                                                             By:
                                                                                                    V. Medina
                                                                                                                     Deputy
                                             PLEA AND SENTENCE

                                                                         Case Number: EP:24-M -00652(1) LS
DEFENDANT'S NAME:                                            ATTY FOR DEFENDANT:
Wladimir Vera-Villamizar                                     Robert J. Perez

JUDGE:                   LEON SCHYDLOWER                     AUSA:                   Shannon Holderfield
DEPUTY CLERK:            Veronica Medina                     INTERPRETER:              X Spanish                    No
                                                             T. Saenz
COURT REPORTER: ERO                                          PROB. OFFICER
                                                             PRETRIAL OFFICER:
DATE:                    Monday, February 26, 2024           TIME: 0 Minutes                       1:35-1:53

PROCEEDINGS                                                   DFT NO.                [DftNo1]                    [DftNo2]

           INITIAL APPEARANCE HELD
 X         ARRAIGNMENT HELD                                                              X
           DFT INFORMED OF RIGHTS/oral consent to plea                                   X
  X        GUILTY     DEFT [DftNo1] COUNT(S):         COMPLAINT

  X        GUILTY PLEA ACCEPTED BY THE COURT                                             X

           Information Filed On _____________________
           Motion to Dismiss Complaint filed on _____________
           Court Grants Motion to Dismiss on _____________
           Order Dismissing Complaint entered on _____________

X          Oral Motion by AUSA to Remit Special Assessment                               X
X          Oral Order Granting Oral Motion to Remit Special Assessment                   X

X          SENTENCING HELD: Defendant sentenced to 15 days . $0 Fine; S/A REMITTED.

OTHER:
